            Case 1:23-cr-00004-APM Document 24 Filed 04/19/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Criminal No. 23-CR-4 (APM)
                                               :
ISAIAH FARNSWORTH,                             :
                                               :
                        Defendant.             :

    GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO REMAIN ON
                  RELEASE PENDING SENTENCING

       The United States of America, through its attorney, the United States Attorney for the

District of Columbia, hereby submits this response to the defendant’s Motion to Remain on

Release Pending Sentencing.      (ECF No. 23.)     If the defendant pleads guilty to Count 1 of the

Indictment, which charges him with an offense described in subparagraph (A), (B), or (C) of 18

U.S.C. § 3142(f)(1), the Court is required to order that the defendant be detained pending

sentencing.     18 U.S.C. § 3143(a)(2).   However, as discussed at the April 4, 2023, status hearing

in this matter and in the defendant’s motion to remain on release, the Court may order the defendant

released upon a showing of “exceptional reasons why [the defendant’s] detention would not be

appropriate.”     18 U.S.C. § 3145(c).      Alternatively, the Court may defer the entry of the

defendant’s guilty plea until the date of sentencing. The government takes no position as to the

defendant’s arguments for either of these approaches and defers to the Court’s determination as to

which is more appropriate.     If the Court elects to defer the entry of the defendant’s plea until the

date of sentencing, the government respectfully requests that the Court order a presentence

investigation and report to aid the Court and the parties in preparing for sentencing.
Case 1:23-cr-00004-APM Document 24 Filed 04/19/23 Page 2 of 2




                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           United States Attorney
                           DC Bar No. 481052


                     By:             /s/
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